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                                               Certificate Number: 15725-CAC-CC-036382970


                                                                 15725-CAC-CC-036382970




                    CERTIFICATE OF COUNSELING

I CERTIFY that on March 8, 2022, at 5:18 o'clock PM EST, Lusine Dokuzyan
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in the Central District of California, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   March 8, 2022                          By:      /s/Carlos Cervera


                                               Name: Carlos Cervera


                                               Title:   Issuer




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
